Case 17-50001-BLS Doc 114

Filed 06/05/19 Page 1of3

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re

ESSAR STEEL MINNESOTA LLC and
ESML HOLDINGS INC.,!

Debtors.

 

BRADLEY E. SCHER, solely in his capacity
as Litigation Trustee for SC Mesabi Litigation
Trust,

Plaintiff

v

ESSAR GLOBAL FUND LIMITED; ESSAR
PROJECTS LIMITED;

ESSAR PROJECTS USA, LLC;

ESSAR PROJECTS (INDIA) LIMITED;
ESSAR PROJECT MANAGEMENT
COMPANY LIMITED; ESSAR
CONSTRUCTIONS LIMITED;

ESSAR PROJECTS MIDDLE EAST FZE;
ESSAR ENGINEERING SERVICES
LIMITED; GLOBAL SUPPLIES FZE;
ESSAR LOGISTICS LIMITED; DOES 1-500

Defendants.

Chapter 11

Case No. 16-11626 (BLS)

(Jointly Administered)

Adv. Proc. No. 17-50001 (BLS)

Re: Adv. Proc. D.I. 69, 111

 

 

ORDER GRANTING IN PART AND DENYING IN PART, ESSAR GLOBAL FUND
LIMITED, ESSAR PROJECT MANAGEMENT COMPANY LIMITED AND ESSAR
CONSTRUCTIONS LIMITED’S PARTIAL MOTION TO DISMISS

! Essar Steel Minnesota LLC is doing business as Mesabi Metallics Company LLC. The last four digits of its
federal taxpayer identification number are 8770. The last four digits of ESML Holdings Inc,’s federal taxpayer

identification number are 8071.

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Upon consideration of the motion filed by Essar Global Fund Limited, Essar Projects
Management Company Limited, and Essar Constructions Limited, to dismiss certain counts
alleged in the Complaint [Adv. Proc. D.I. 69] (the “Motion”),” and this Court having reviewed
the record before it; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§
157 and 1334 and the Amended Standing Order of Reference from the United States District
Court for the District of Delaware, dated February 29, 2012; and this Court having found that
venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408
and 1409; and this Court having found that the notice of Motion was appropriate and no further
notice need be provided; and this Court having determined that just cause exists for the relief
granted herein; and after due deliberation and sufficient cause appearing therefor, it is HEREBY
ORDERED THAT:

1. The Motion is granted in part and denied in part.

2. The Motion is denied with respect to the Complaint’s First, Second, Third, and
Fourth Claims for Relief.

3, Plaintiff's Fifth and Sixth Claims for Relief are dismissed with leave to replead.
Plaintiff shall have thirty (30) days from the date of entry of this order to replead the Fifth and
Sixth Claims for Relief.

4. Plaintiff's Twentieth Claim for Relief is dismissed in its entirety, without leave to

replead.

2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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This Court shall retain jurisdiction with respect to all matters arising from or

relating to the implementation or interpretation of this Order.

 

Dated: Me 5 , 2019
Wilmifigton, Delaware “Bua az f ST 7

HONORABLE BRENDAN L. SHANNON
UNITED STATES BANKRUPTCY JUDGE

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